             Case 1:14-cv-14176-ADB Document 4 Filed 11/17/14 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
                                  BOSTON DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC.                    )
                                                      )
        Plaintiff,                                    )
                                                      )
v.                                                    )   Civil Action No: 1:14-cv-14176
                                                      )
PRESIDENT AND FELLOWS OF HARVARD                      )
COLLEGE (HARVARD CORPORATION) and                     )
THE HONORABLE AND REVEREND THE                        )
BOARD OF OVERSEERS,                                   )
                                                      )
        Defendants.                                   )
                                                      )

       FEDERAL RULE OF CIVIL PROCEDURE 7.1 CORPORATE DISCLOSURE
       STATEMENT FOR PLAINTIFF, STUDENTS FOR FAIR ADMISSIONS, INC.


        In compliance with Fed. R. Civ. P. 7.1, Students for Fair Admissions, Inc., hereby states

as follows:

        1.      Students for Fair Admissions, Inc. is an active Internal Revenue Code Section

501(c)(3) organization formed in Virginia.

        2.      Students for Fair Admissions, Inc. does not have a parent corporation.

        3.      No publicly held corporation owns 10% or more of Students for Fair Admissions,

Inc.’s stock.




                                                 1
             Case 1:14-cv-14176-ADB Document 4 Filed 11/17/14 Page 2 of 2




                                              Respectfully submitted,

                                              STUDENTS FOR FAIR ADMISSIONS, INC.

                                              By its attorneys


Dated: November 17, 2014                      /s/ Paul M. Sanford
                                              Paul M. Sanford (BBO No. 566318)
                                              Benjamin C. Caldwell (BBO No. 675061)
                                              Burns & Levinson LLP
                                              One Citizens Plaza, Suite 1100
                                              Providence, RI 02903
                                              Tel: 401-831-8330
                                              Fax: 401-831-8359

                                              William S. Consovoy, Esq.
                                              Thomas R. McCarthy, Esq.
                                              J. Michael Connolly, Esq.
                                              (pro hac vice motion forthcoming)
                                              Consovoy McCarthy PLLC
                                              3033 Wilson Boulevard, Suite 700
                                              Arlington, VA 22201
                                              Tel: 703-243-9423
                                              Fax: 703-243-9423


                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be served upon Defendants along with a copy of the Complaint which was
filed contemporaneously herewith.

                                                      /s/ Paul M. Sanford
                                                      Paul M. Sanford




4829-3186-5888.1




                                                 2
